
459 So.2d 1129 (1984)
F.W., a Juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 83-2900.
District Court of Appeal of Florida, Third District.
November 20, 1984.
Bennett H. Brummer, Public Defender, and Bruce A. Rosenthal, Asst. Public Defender, for appellant.
Jim Smith, Atty. Gen., and Richard E. Doran, Asst. Atty. Gen., for appellee.
Before BARKDULL, NESBITT and FERGUSON, JJ.
PER CURIAM.
Because the state failed to establish the market value of the property so as to classify it as a felony under sections 812.012(9)(a)(1) and 812.014(2)(b)(1), Florida Statutes (1983), the juvenile's conviction for grand theft is reversed. Negron v. State, 306 So.2d 104, 108 (Fla. 1974); Taylor v. State, 425 So.2d 1191, 1194 (Fla. 1st DCA 1983). Consequently, the defendant's adjudication of delinquency is reduced from grand theft to petit theft. J.J. v. State, 438 So.2d 988 (Fla. 3d DCA 1983).
As modified, the adjudication and sentence for delinquency is affirmed.
